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                           EXHIBIT 5
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                                                                                            04th October 2020




 Dear Sirs,

 Re: Spanish into English Certified Translation

 Language Reach Limited is a UK-registered professional translation and interpreting
 company and a fully qualified registered member of The Association of Translation
 Companies (Member No. 2018ATCR1238). We hereby confirm that we have
 translated the enclosed document(s) from Spanish into English.

 As a responsible translation agency we only employ certified linguists to work with
 us. We are satisfied with the linguistic accuracy and hereby confirm that the English
 written translation of the Spanish document(s) represents its fair and accurate
 linguistic message as intended in the original file(s).

 We hereby confirm that this is a true and correct translation and certify the linguistic
 accuracy.

 For more information, please contact Language Reach Limited on +44 (0) 208 677
 3775.

 Yours sincerely,




 Aniello Attianese
 Senior Account Manager




        Registered in England & Wales 07635166 Tel: +44 (0) 208 677 3775 Email: info@languagereach.com    04/10/2020
                           Address: Unit F11B, Parkhall Business Centre, London, SE21 8EN
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    [emblem]

    The People’s Minister for
    Foreign Affairs
    of the Bolivarian Republic of Venezuela

    DM [Minister’s Dispatch] No. 001158
                                                                            Caracas, 25 September 2020



    Excellent Sir
    Luís Filipe Lopes Tavares
    Minister for Foreign Affairs, Communities and Ministry for
    Defence of the Republic of Cape Verde
    Praia.-




    Excellent Sir:

            We greet you affectionately on behalf of the People of Venezuela, the President of the
    Republic, Nicolás Maduro Moros, the Venezuelan People and myself, and assure you of our best
    wishes to you and to His Excellency Jorge Carlos Fonseca, President of the Republic of Cape Verde,
    and to our brothers and sisters the people of Cape Verde.

           I hereby address you regarding the Special Envoy and Venezuelan citizen, Alex Nain Saab
    Morán, currently under arrest in Cape Verde and subject to an extradition request by the
    Government of the United States of America.

             On 9 April 2018, Mr. Alex Nain Saab Morán was nominated as Special Envoy to the Bolivarian
    Republic of Venezuela in humanitarian matters and in particular as Envoy to the Islamic Republic of
    Iran, in accordance with Venezuelan legislation and international law. The objective of his special
    mission was to obtain medical supplies, food and fuel to meet the needs of the people, within the
    context of the worsening of the situation due to the Covid-19 pandemic.

            To carry out his Mission, under orders issued by the Venezuelan National Executive, on 12
    June 2020 the plane that was carrying him needed to refuel in Cape Verde in order to continue its
    journey. At that point, Special Envoy Alex Nain Saab was arrested by the Cape Verdean authorities,
    who alleged that the United States of America had issued an extradition request.




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           We have sent numerous official communications from this Ministry of Foreign Affairs and
    from the Embassy of the Bolivarian Republic of Venezuela to Cape Verde to the competent Cape
    Verdean authorities explaining that Special Envoy Alex N. Saab enjoys sovereign and diplomatic
    immunity, both in his capacity as Special Envoy and under international and common law.

            The Bolivarian Republic of Venezuela expects the Cape Verdean Judiciary to respect the
    principle of the sovereignty of States and recognize that Special Envoy Alex Saab is a diplomatic
    representative and, as such, enjoys sovereign and diplomatic immunity.

            This Ministry of Foreign Affairs has also confirmed previously before international
    authorities that the ultimate objective of the United States, in arresting and extraditing Special
    Envoy Alex Saab, is to conveniently further its planned campaign against the legitimate Government
    of Venezuela, led by President Nicolás Maduro. In light of this, we feel that they wish to politically
    and diplomatically undermine the Government of the Bolivarian Republic of Venezuela and illegally
    obtain strategic information to which Special Envoy Alex Saab has access as a diplomatic
    representative of the Republic on a special mission. The United States Government wishes to use
    such information to inflict greater suffering on the Venezuelan people and to damage our country,
    as representatives of its government have repeatedly made clear.

             In light of this, it should be made clear that Special Envoy Alex Saab is the subject of a
    Venezuelan court order, under which he is required to carry out his mission under the principles of
    institutional confidence, privacy and loyalty, the breach of which is subject to penalties under
    national law relating to the revealing of secrets and the crime of betrayal (see for example articles
    4.1, 128 and following, as well as 206 of the Criminal Code of the Bolivarian Republic of Venezuela).




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             Considering the historically good relationship between Cape Verde and Venezuela, I
    respectfully request that the competent authorities respect the position of Special Envoy Alex Saab
    as a diplomatic representative, under Government orders, through this Ministry of Foreign Affairs, to
    immediately continue with his activities in the service of the Republic, so that the humanitarian
    mission is not completely paralyzed, causing suffering to the Venezuelan people and damage to the
    Country.

            Thanking you in advance for your valuable support and solidarity with regards to this
    request, I take the opportunity to again assure you, Excellent Sir, of my utmost respect.



                                                 Faithfully,



                                                 [signature]                              [oval stamp:]
                                                                                          BOLIVARIAN
                                               Jorge Arreaza                              REPUBLIC OF
                                                  Minister                                 VENEZUELA
                                                                                            [emblem]
                                                                                           MINISTER’S
                                                                                            DISPATCH
                                                                                          The People’s
                                                                                           Minister for
                                                                                         Foreign Affairs




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